Case o-2U0-Ue047-asSt DOC 90-4 Filed Ol/lo/fzs Entered Uliloizo cUl4 1°44

EXHIBIT D
Case 38-20-08049-ast Doc 20-4 Filed Ol/lo/23 Entered OL/13/235 20:41:44

RE: Combined Porteck and PCA by Cl@t tt a erranssne memes ease

From:

Paul Parmar <“/o=exchangelabs/ou=exchange administrative group _
(fydibohf23spait)/cn=recipients/cn=807e953e3e604cdeb 1 eSc6668ci3 199e-paul'> roo™N
To:
Glenn Cunningham <glenc@g-r-consulting.com>

Date:

Mon, 01 Dec 2014 11:40:22 -0500

Hahahahaha this is a joke, please please find me a real billing company

From: Glenn Cunningham [mailto:glenc@g-r-consulting.com]
Sent: Monday, December 1, 2014 11:38 AM

To: Paul Parmar

Subject: RE: Combined Porteck and PCA by Client

Last month.

Glenn R. Cunningham,

President, G R Capital Management Inc.
451 Hungerford Or., Suite 119 - 227
Rockville, MD 20850

Off: (240) 477-7320

Fax:(240) 454-8182

Cell:(240) 994-8876

E-Mail: glenc@g-r-consulting.com

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sender and destroy all copies which you may have of this communication.

From: Paul Parmar [ma g
Sent: Monday, December 01, 2014 ii: 24 AM

To: Glenn Cunningham

Subject: RE: Combined Porteck and PCA by Client

When was it acquired ?

From: Glenn Cunningham [mailto:glenc@g-r-consulting.com]
Sent: Monday, December 1, 2014 11:23 AM

To: Paul Parmar

Subject: RE: Combined Porteck and PCA by Client

PCA is a recent medical billing acquisition.

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From: Paul Parmar : asusbl
Sent: Monday, December 01, 2014 11:18 AM

To: Glenn Cunningham

Subject: RE: Combined Porteck and PCA by Citent

So PCA data set is prospective clients ?

From: Glenn Cunningham [mailto:glenc@g-r-consulting.com]
Sent: Monday, December 1, 2014 11:07 AM

To: Paul Parmar
Subject: RE: Combined Porteck and PCA by Client

Change the call to noon. Done

Also they have like | mentioned to you on the phone as | knew this from before, 17% of the revenue is Telecom and not medical
billing ? correct, 16.2 % of the gross revenue is from the India call center, perhaps we use a different multiple for the valuation?

What is PCA Data Set ? with no names of clients under this category, PCA is a client list of a recent acquisition. | requested the
client list be sorted by revenue. We should have the TTM list later today.

What are the two subtotals ? why are certain clients bucketed together in the two subtotals ?Not sure of either, | have requested
an answer from the broker, he is working on it. | will ask during the call.

First set of clients In the subtotal Is 11.1% and second set of clients in subtotal fs 52.4%, telecom is 17% and Authorizations Is
2.28%, PCA Data Set is 18% = 100% ? ‘

What is the set of clients in first subtotal that is 11.1561’m not sure why they broke out the client list this way. Have asked, will
mention during the call at 12:00.

What are the set of clients in second subtotal that is 52.4%, Above.

What is PCA Data Set that is 18%, Acquisition client list.

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From: Paul Parmar [mallto:paul@pegasusbluestarfund.com)

EHREN-WALIA 005139
Case o-2U0-06049-aSt DOC 90-4 Filed Ol/lo/2zs centered Uliloizo 20141744

Sent: Monday, December 01, 2014 6:38 AM
To: Glenn Cunningham
Subject: RE: Combined Porteck and PCA by Cent

Change the call to noon. —

Also they have like | mentioned to you on the phone as | knew this from before, 17% of the revenue is Telecom and not medical
billing ?

What is PCA Data Set ? with no names of clients under this category
What are the two subtotals ? why are certain clients bucketed together in the two subtotals ?

First set of clients In the subtotal Is 11.1% and second set of clients in subtotal is 52.4%, telecom Is 17% and Authorizations Is
2.28%, PCA Data Set is 18% = 100% ?

What is the set of clients in first subtotal that is 11.1%
What are the set of clients in second subtotal that is 52.4%
What is PCA Data Set that is 18%

From: Glenn Cunningham [mailto:glenc@g-r-consulting.com]
Sent: Monday, December 1, 2014 6:24 AM

To: Paul Parmar

Subject: FW: Combined Porteck and PCA by Client

Paul,

In preparation for today’s call at 10 with the Porteck group, | have attached 2015 projected revenue by client. They are working on
the TTM revenue by client which we hope to have shortly.

ee

Let me know if you have questions.

Glenn R. Cunningham,

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